                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                    DEBTORS’ MOTION FOR ENTRY OF INTERIM
               AND FINAL ORDERS PURSUANT TO BANKRUPTCY CODE
            SECTION 363 AUTHORIZING THE DEBTORS TO PAY FEES AND
         REIMBURSE EXPENSES INCURRED BY AKIN GUMP STRAUSS HAUER &
        FELD LLP AS SPECIAL COUNSEL TO THE RESTRUCTURING COMMITTEE

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”) hereby file this motion (the “Motion”) for entry of an interim order, substantially in

 the form of Exhibit A hereto (the “Proposed Interim Order”), and a final order, substantially in

 the form of Exhibit B hereto (the Proposed Final Order,” and together with the Proposed Interim

 Order, the “Proposed Orders”), pursuant to 11 U.S.C. § 363 of the United States Code (the

 “Bankruptcy Code”), approving the Debtors’ compensating Akin Gump Strauss Hauer & Feld

 (“Akin Gump”) as counsel to the Restructuring Committee (as defined herein). In support of this

 Motion, the Debtors submit the Declaration of Sarah Link Schultz (the “Schultz Declaration”),

 which is attached hereto as Exhibit C and incorporated by reference herein. In further support of



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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.



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 this Motion, the Debtors respectfully represent as follows:

                                  JURISDICTION AND VENUE

           1.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

 enter interim and final orders consistent with Article III of the United States Constitution.

           2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                   GENERAL BACKGROUND

           3.   On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

 businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

 committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

 joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.

           4.   The Debtors are one of America’s oldest and largest manufacturers of firearms,

 ammunition and related products for commercial, military, and law enforcement customers

 throughout the world. The Debtors employ approximately 2,100 full-time employees and operate

 seven manufacturing facilities located across the United States. The Debtors’ corporate

 headquarters is located in Huntsville, Alabama.

           5.   Additional information regarding the Debtors’ businesses, assets, capital structure,

 and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

 of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

 Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day




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 Declaration”),2 filed contemporaneously herewith and incorporated by reference herein.

                                               RELIEF REQUESTED

            6.       By this Motion, the Debtors seek entry of the Proposed Orders, attached hereto as

 Exhibit A and Exhibit B, respectively, pursuant to Bankruptcy Code section 363(b) authorizing

 the Debtors to pay the reasonable fees and expenses of Akin Gump in its capacity as counsel to

 the Restructuring Committee (as defined below). The Restructuring Committee is entitled to retain

 its own counsel and be indemnified for such costs by the Debtors, and thus, these professional fees

 and expenses are actual and necessary administrative costs of the Debtors’ estates under

 Bankruptcy Code section 503(b)(1).

               The Restructuring Committee’s Formation and Retention of Akin Gump

            7.       On April 7, 2020, the board of directors (the “Board”) of Remington Outdoor

 Company, Inc. (the “Company”) adopted certain resolutions (the “Board Resolutions”) whereby

 the Board determined that, in the good faith exercise of its business judgment, it was advisable and

 in the best interests of the Company to explore all strategic alternatives available to the Company,

 including, without limitation, changes in the Debtors’ capital structure, a possible financing,

 refinancing, stock or asset sale, merger, acquisition, other business combination, recapitalization,

 restructuring, plan of reorganization or other reorganization or similar transaction involving the

 Debtors (any such transaction, a “Possible Transaction”).

            8.       The Board additionally determined that, in the good faith exercise of its business

 judgment, it was in the Debtors’ best interests to designate a Restructuring Committee of the Board

 consisting of independent and disinterested directors (the “Restructuring Committee” and such

 members, the “Independent Directors”) to, on behalf of the Board, review and evaluate any and


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     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.



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 all Possible Transactions. The Restructuring Committee’s oversight involves, among other things,

 reviewing and evaluating information regarding the Debtors’ restructuring strategy.

           9.    In addition, the Board authorized the Restructuring Committee, in its sole

 discretion, to retain at the Debtors’ expense, legal counsel, financial and other advisors, consultants

 and agents that were determined necessary and were acceptable to the Restructuring Committee.

           10.   In connection therewith, on April 7, 2020, the Restructuring Committee retained

 Akin Gump as its legal counsel. The engagement letter, pursuant to which the Restructuring

 Committee retained Akin Gump, and the Company agreed to pay such fees and expenses incurred

 in connection therewith, is attached hereto as Exhibit C (the “Engagement Letter”).

           11.   Since its engagement, Akin Gump has met with the Company’s management team

 and the Debtors’ proposed legal and financial advisors to familiarize itself with the Debtors’

 business. Akin Gump has also coordinated numerous Restructuring Committee meetings and

 conferred with the Independent Directors on all aspects associated with the Possible Transactions

 and the Chapter 11 Cases.

           12.   While Akin Gump has been in frequent communication with the Debtors’ proposed

 counsel, O’Melveny & Myers LLP (“OMM”), about the Possible Transactions and the Chapter

 11 Cases, Akin Gump’s engagement is separate from, and not duplicative of, OMM’s engagement

 in these Chapter 11 Cases.

           13.   The Debtors believe that Akin Gump is well-suited to advise the Restructuring

 Committee in these Chapter 11 Cases.           The Restructuring Committee interviewed several

 candidates before selecting Akin Gump to serve as legal counsel. The Debtors believe that the

 Restructuring Committee selected Akin Gump to advise them in connection with the Possible

 Transactions and the Chapter 11 Cases because, among other reasons, Akin Gump has extensive




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 experience and knowledge in the field of bankruptcy, restructuring and corporate governance,

 among many other legal practice areas. As set forth in the Schultz Declaration, Akin Gump is

 well-qualified to represent the Restructuring Committee in the Chapter 11 Cases and will advise,

 assist and represent the Restructuring Committee exclusively in connection with the Chapter 11

 Case.

           14.   The Debtors have agreed to compensate Akin Gump for services rendered to the

 Restructuring Committee prior to, on and after the Petition Date. The Debtors propose to pay Akin

 Gump amounts that do not (and will not) exceed the rates that Akin Gump customarily charges to

 its other clients, and to reimburse both according to its customary reimbursement policies, and

 respectfully submit that such rates and policies are reasonable. The applicable rates are set forth

 in the Schultz Declaration. As of the Petition Date, Akin Gump holds an advance payment (the

 “Advance Payment”) from the Debtors. Akin Gump intends to perform a true-up of its billing

 records to determine if any additional fees and expenses incurred prior to the Petition Date should

 be applied against the Advance Payment. Following such true-up, Akin Gump proposes to hold

 this Advance Payment until the end of the Chapter 11 Cases and, at the conclusion of our

 representation, Akin Gump will apply the Advance Payment to the final invoice and return any

 excess to the Debtors.

           15.   The Debtors understand that, in connection with the reimbursement of reasonable

 and necessary expenses, Akin Gump customarily charges its clients for all ancillary services

 incurred, including but not limited to, photocopying charges, facsimile transmissions, messengers,

 courier mail, computer and data bank time, word processing, and temporary employees, overtime

 meals, overtime and late night transportation, travel, lodging, meal charges for business meetings,

 postage, printing, transcript, filing fees, document retrieval and similar items.




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           16.   While the Debtors recognize that there is statutory authority for the Debtors to

 retain Akin Gump, on behalf of the Restructuring Committee, under Bankruptcy Code section

 327(e), given the facts of the case, the Debtors believe that Bankruptcy Code section 363 is more

 appropriate. Specifically, because the Restructuring Committee, not the Debtors, is the entity

 retaining Akin Gump (although the Debtors will pay for Akin Gump’s services as set forth herein),

 the Debtors believe that Akin Gump’s services are more appropriately authorized and paid for

 pursuant to Bankruptcy Code section 363. Despite not being retained by the Debtors pursuant to

 Bankruptcy Code section 327, Akin Gump will apply for compensation for professional services

 rendered and reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject

 to the Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Local Rules of the United

 States Bankruptcy Court for the Northern District of Alabama (the “Local Bankruptcy Rules”),

 and any other applicable procedures and orders of the Court.

           17.   In reliance on the Schultz Declaration and subject to the disclosures made therein,

 the Debtors believe, with respect to the matters for which Akin Gump was retained by the

 Restructuring Committee, that Akin Gump neither has nor represents an interest materially adverse

 to the interests of the Debtors or their respective estates or any class of creditors or equity interest

 holders, by reason of any direct or indirect relationship to, connection with, or interest in, the

 Debtors. To the best of the Debtors’ knowledge, and as disclosed in the Schultz Declaration and

 the schedules thereto, Akin Gump (a) are “disinterested persons” within the meaning of

 Bankruptcy Code section 101(14), (b) do not hold or represent an interest adverse to the Debtors’

 estates, and (c) except as set forth in the Schultz Declaration, have no connection to the Debtors,




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 its creditors or their related parties.3

           18.     Akin Gump will periodically review its files during the pendency of the Chapter 11

 Cases to ensure that no conflict or other disqualifying circumstances exist or arise. To the extent

 that Akin Gump discovers any new relevant facts or relationships bearing on the matters described

 herein during the period of either of its employment, Akin Gump will use reasonable efforts to

 promptly file a supplemental declaration.

                                    BASIS FOR RELIEF REQUESTED

           19.     The compensation of counsel for the Restructuring Committee is appropriate under

 Bankruptcy Code section 363(b), which provides, in relevant part, that a debtor in possession,

 “after notice and a hearing, may use sell, or lease, other than in the ordinary course of business,

 property of the estate.” 11 U.S.C. § 363(b)(1). Section 363 also provides that transactions outside

 the ordinary course of business must be approved by court order after notice and a hearing. Courts

 characteristically hold, if a debtor’s proposed use of its asset pursuant to Bankruptcy Code section

 363(b) represents a reasonable business judgment on the part of the debtor, such use should be

 approved. See, e.g., KK-PB Fin., LLC v. 160 Royal Palm, LLC (In re 160 Royal Palm, LLC), 785

 F. App’x 829, 830 (11th Cir. 2019) (affirming bankruptcy court order applying “sound business

 justification” to section 363); Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996)

 (citing Fulton State Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991) (court

 defers to trustee’s judgment as long as there is a legitimate business justification); In re Coram

 Healthcare Corp., 315 B.R. 321, 330 (Bankr. D. Del. 2004) (court should defer to a trustee’s



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  Given the nature of the representation, as detailed in the Schultz Declaration, Akin Gump only searched conflicts
 with respect to the main parties in the Chapter 11 Cases and not the entire creditor database. To the extent that other
 parties become active in the Chapter 11 Cases, Akin Gump will supplement its conflicts search and, to the extent
 necessary, file a supplemental declaration making the requisite disclosures.




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 judgment so long as there is a legitimate business justification for his action); In re Global Home

 Products, LLC, 369 B.R. 778, 783 (Bankr. D. Del. 2007) (compensation issues are normally

 governed by the business judgment standards); In re Delaware & Hudson Ry. Co., 124 B.R. 169,

 175 (D. Del. 1991) (recognizing that courts routinely apply the “sound business purpose” test to

 evaluate motions brought pursuant to section 363(b)).

           20.   As discussed above, pursuant to the Board Resolutions, the Restructuring

 Committee has been authorized to retain, in its sole discretion, legal counsel in connection with

 reviewing and evaluating any and all Possible Transactions. After interviewing various firms, the

 Restructuring Committee engaged Akin Gump in light of the firm’s global reputation and

 extensive experience in, among others, things, financial restructuring and corporate matters.

 Accordingly, the Company is obligated to pay such fees and expenses incurred by Akin Gump in

 connection with its representation of the Restructuring Committee.

           21.   The Restructuring Committee is a vital component of the restructuring process and

 provides autonomous oversight to ensure the sound exercise of business judgment throughout the

 Chapter 11 Cases. Similar committees are often appointed in transactions of this nature and

 compensation of counsel for such committees is routinely granted pursuant to Bankruptcy Code

 section 363(b). See, e.g., Global Safety Textiles Holdings LLC, et al., Case No. 09-12234 (KG)

 (Bankr. D. Del. Jul. 28, 2009) [Docket No. 126]; KiOR, Inc., Case No. 14-12514 (CSS) (Bankr.

 D. Del. Mar. 18, 2015) [Docket No. 532]; Residential Capital, LLC, et al., Case No. 12-12020

 (MG) (Bankr. S.D.N.Y. Sep. 27, 2012) [Docket No. 1610]; SunEdison, Inc., et al., Case No. 16-

 10992 (SMB) (Bankr. S.D.N.Y. July 13, 2016) [Docket No. 764]. In light of the foregoing, the

 Debtors believe that paying the fees and expenses of Akin Gump as counsel to the Restructuring

 Committee is appropriate and in the best interests of the Debtors and their estates.




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                                              NOTICE

           22.   Notice of the hearing on the relief requested in this Motion will be provided by the

 Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the Local

 Bankruptcy Rules, and is sufficient under the circumstances. The Debtors will provide notice of

 this Motion to the following parties-in-interest: (i) the Bankruptcy Administrator; (ii) the Debtors’

 consolidated list of creditors holding the forty largest unsecured claims; (iii) counsel to Whitebox

 Advisors LLC, as Priority Term Loan Lender; (iv) counsel to Cantor Fitzgerald Securities, as

 Priority Term Loan Agent under the Debtors’ prepetition Priority Term Loan Credit Agreement;

 (v) counsel to Ankura Trust Company, LLC, as FILO Agent under the Debtors’ prepetition FILO

 Term Loan Agreement, and as Exit Term Loan Agent under the Debtors’ prepetition Exit Term

 Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO Lender; (vii) the United States

 Internal Revenue Service; (viii) counsel to the United Mine Workers of America; and (ix) all

 parties entitled to notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief

 requested, the Debtors submit that no other or further notice is necessary under the circumstances.

                                      NO PRIOR REQUEST

           23.   The Debtors have not previously sought the relief requested herein from this or any

 other Court.




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                                          CONCLUSION

           WHEREFORE, the Debtors respectfully entry of the Proposed Orders, substantially in the

 form attached hereto as Exhibit A and Exhibit B, respectively, granting the relief requested herein

 and such other relief as may be just and proper under the circumstances.

 Dated: July 28, 2020


                                             /s/ Derek F. Meek
                                             BURR & FORMAN LLP
                                             Derek F. Meek
                                             Hanna Lahr
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                                                     hlahr@burr.com

                                             - and -

                                             O’MELVENY & MYERS LLP
                                             Stephen H. Warren (pro hac vice admission pending)
                                             Karen Rinehart (pro hac vice admission pending)
                                             400 South Hope Street
                                             Los Angeles, CA 90071-2899
                                             Telephone:      (213) 430-6000
                                             Facsimile:      (213) 430-6407
                                             Email: swarren@omm.com
                                                    krinehart@omm.com

                                             Proposed Attorneys for the Debtors and Debtors in
                                             Possession




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                                  EXHIBIT A

                             Proposed Interim Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                         Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                               Case No. 20-81688-11
     et al.,1
                                                                    Joint Administration Requested
                                    Debtors.



                INTERIM ORDER PURSUANT TO BANKRUPTCY CODE
            SECTION 363 AUTHORIZING THE DEBTORS TO PAY FEES AND
         REIMBURSE EXPENSES INCURRED BY AKIN GUMP STRAUSS HAUER &
        FELD LLP AS SPECIAL COUNSEL TO THE RESTRUCTURING COMMITTEE

              Upon consideration of the motion (the “Motion”) of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), seeking entry of an interim order (this

 “Interim Order”)2 pursuant to Bankruptcy Code section 363 approving the Debtors’

 compensating Akin Gump Strauss Hauer & Feld (“Akin Gump”) as counsel to the Restructuring

 Committee, all as more fully set forth in the Motion; and upon consideration of the Schultz

 Declaration; and the First Day Declaration; and it appearing that (i) the Court has jurisdiction over

 these Chapter 11 Cases and the Motion under 28 U.S.C. §§ 1334(b) and 157, and the Amended

 General Order of Reference from the United States District Court for the Northern District of

 Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases and the Motion in this

 Court is proper under 28 U.S.C. §§ 1408 and 1409 and Local Bankruptcy Rule 1073-1, (iii) the


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
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     Capitalized terms used but not defined in this Interim Order have the meanings used in the Motion.


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 Motion is a core proceeding pursuant to 28 U.S.C. § 157(b), and the Court may enter interim and

 final orders consistent with Article III of the United States Constitution, and (iv) notice of the

 Motion was adequate and proper under the circumstances, and no other or further notice need be

 given; and the Court having held an interim hearing, if necessary, to consider the relief requested

 in the Motion (the “Interim Hearing”); and upon the record of the Interim Hearing, if any; and

 the Court having determined that the legal and factual bases set forth in the Motion establish just

 cause for the relief granted herein; and it appearing that the relief requested in the Motion is in the

 best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of the

 proceedings had before the Court and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

           1.    The Motion is granted on an interim basis as set forth herein.

           2.    The Debtors are authorized to satisfy, pay and reimburse on behalf of the

 Restructuring Committee all reasonable charges for professional services rendered by Akin Gump

 as counsel to the Restructuring Committee on or after the Petition Date.

           3.    Akin Gump will apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to the

 Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the

 Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures and order of

 the Court.

           4.    Adequate notice of the Motion has been provided under the circumstances. Such

 notice satisfies the requirements of Bankruptcy Rule 6004(a).

           5.    Notwithstanding Bankruptcy Rule 6004(h), 7062, and 9014, the terms and

 conditions of this Interim Order are immediately effective and enforceable upon its entry.



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           6.   The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Interim Order in accordance with the Motion.

           7.   This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Interim Order.


 Dated:                         , 2020


                                               UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT B

                              Proposed Final Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                         Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                               Case No. 20-81688-11
     et al.,1
                                                                    Joint Administration Requested
                                    Debtors.



                  FINAL ORDER PURSUANT TO BANKRUPTCY CODE
            SECTION 363 AUTHORIZING THE DEBTORS TO PAY FEES AND
         REIMBURSE EXPENSES INCURRED BY AKIN GUMP STRAUSS HAUER &
        FELD LLP AS SPECIAL COUNSEL TO THE RESTRUCTURING COMMITTEE

              Upon consideration of the motion (the “Motion”) of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), seeking entry of a final order (this “Final

 Order”)2 pursuant to Bankruptcy Code section 363 approving the Debtors’ compensating Akin

 Gump Strauss Hauer & Feld (“Akin Gump”) as counsel to the Restructuring Committee, all as

 more fully set forth in the Motion; and upon consideration of the Schultz Declaration; and the First

 Day Declaration; and it appearing that (i) the Court has jurisdiction over these Chapter 11 Cases

 and the Motion under 28 U.S.C. §§ 1334(b) and 157, and the Amended General Order of Reference

 from the United States District Court for the Northern District of Alabama dated as of July 17,

 1984, (ii) venue of these Chapter 11 Cases and the Motion in this Court is proper under 28 U.S.C.

 §§ 1408 and 1409 and Local Bankruptcy Rule 1073-1, (iii) the Motion is a core proceeding


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
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     Capitalized terms used but not defined in this Final Order have the meanings used in the Motion.


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 pursuant to 28 U.S.C. § 157(b), and the Court may enter interim and final orders consistent with

 Article III of the United States Constitution, and (iv) notice of the Motion was adequate and proper

 under the circumstances, and no other or further notice need be given; and the Court having held

 a final hearing, if necessary, to consider the relief requested in the Motion (the “Final Hearing”);

 and upon the record of the Final Hearing, if any; and the Court having determined that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted herein; and it

 appearing that the relief requested in the Motion is in the best interests of the Debtors, their estates,

 creditors, and all parties in interest; and upon all of the proceedings had before the Court and after

 due deliberation and sufficient cause appearing therefor, it is, it is HEREBY ORDERED,

 ADJUDGED, AND DECREED THAT:

           1.    The Motion is granted on a final basis as set forth herein.

           2.    The Debtors are authorized to satisfy, pay and reimburse on behalf of the

 Restructuring Committee all reasonable charges for professional services rendered by Akin

 Gump as counsel to the Restructuring Committee on or after the Petition Date.

           3.    Akin Gump will apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to the

 Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the

 Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures and order

 of the Court.

           4.    Adequate notice of the Motion has been provided under the circumstances.

 Such notice satisfies the requirements of Bankruptcy Rule 6004(a).

           5.    Notwithstanding Bankruptcy Rule 6004(h), 7062, and 9014, the terms and

 conditions of this Final Order are immediately effective and enforceable upon its entry.



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           6.   To the extent there may be any inconsistency between the terms of the Interim

 Order and this Final Order, this Final Order shall govern.

           7.   The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Final Order in accordance with the Motion.

           8.   This Court retains jurisdiction with respect to all matters arising from or related

 to the implementation, interpretation, and enforcement of this Final Order.


 Dated:                         , 2020


                                              UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT C

                               Schultz Declaration




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                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                  Debtors.



                      DECLARATION ON SARAH LINK SCHULTZ
                 IN SUPPORT OF DEBTORS’ MOTION FOR ENTRY OF
             INTERIM AND FINAL ORDERS PURSUANT TO BANKRUPTCY
          CODE SECTION 363 AUTHORIZING THE DEBTORS TO PAY FEES AND
         REIMBURSE EXPENSES INCURRED BY AKIN GUMP STRAUSS HAUER &
        FELD LLP AS SPECIAL COUNSEL TO THE RESTRUCTURING COMMITTEE

              I, Sarah Link Schultz, under penalty of perjury, declare as follows:

              1.     I am a partner with the law firm Akin Gump Strauss Hauer & Feld LLP (“Akin

 Gump”). Akin Gump maintains offices at, among other places, 2300 N. Field Street, Suite

 1800, Dallas TX, 75201. I am a member of good standing of the State Bar of Texas. There

 are no disciplinary proceedings pending against me.

              2.     I am duly authorized to make this declaration (the “Declaration”) on behalf of

 Akin Gump in support of the Debtors’ Motion for Entry of Interim and Final Orders Pursuant

 to Bankruptcy Code Section 363 Authorizing the Debtors to Pay Fees and Reimburse

 Expenses Incurred by Akin Gump Strauss Hauer & Feld LLP as Special Counsel to the



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.


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 Restructuring Committee (the “Motion”). 2                   Except as otherwise noted, I have personal

 knowledge of the matters set forth herein.

            3.       It is my understanding that on April 7, 2020, prior to the Petition Date, the

 board of directors (the “Board”) of Remington Outdoor Company, Inc. (the “Company”)

 adopted certain resolutions (the “Board Resolutions”) whereby the Board determined it was

 advisable and in the best interests of the Company to explore all strategic alternatives

 available to the Company, including, without limitation, changes in the capital structure of

 the Company, a possible financing, refinancing, stock or asset sale, merger, acquisition, other

 business combination, recapitalization, restructuring, plan of reorganization or other

 reorganization or similar transaction involving the Company and/or its subsidiaries (any such

 transaction, a “Possible Transaction”).

            4.       It is my understanding that the Board additionally determined it was in the best

 interests of the Company to designate a Restructuring Committee of the Board consisting of

 independent and disinterested directors (the “Restructuring Committee” and such members,

 the “Independent Directors”) to, on behalf of the Board, review and evaluate any and all

 Possible Transactions.

            5.       In connection therewith, the Board Resolutions authorized the Restructuring

 Committee, in its sole discretion, to retain at the Company’s expense, legal counsel, financial

 and other advisors, consultants and agents that the Restructuring Committee determined was

 necessary and that were acceptable to the Restructuring Committee.                               Resultantly, the

 Restructuring Committee retained Akin Gump as its legal counsel on April 7, 2020. Pursuant

 to the engagement letter, attached to the Motion as Exhibit C (the “Engagement Letter”),


 2
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.


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 the Company agreed to pay such fees and expenses incurred by Akin Gump in their capacity

 as legal counsel to the Restructuring Committee.

           6.   Since its engagement, Akin Gump has met with the Company’s management

 team and the Debtors’ proposed legal and financial advisors to familiarize itself with the

 Debtors’ business. Akin Gump has also coordinated numerous Restructuring Committee

 meetings and conferred with the Independent Directors on all aspects associated with the

 Possible Transactions and the Chapter 11 Cases.

           7.   Akin Gump has been in frequent communication with the Debtors’ proposed

 counsel, O’Melveny & Meyers LLP (“OMM”), about the Possible Transactions and the

 Chapter 11 Cases. Akin Gump’s engagement is separate from, and not duplicative of, OMM’s

 engagement in these Chapter 11 Cases, and Akin Gump is not providing legal advice directly

 to any of the Debtors.

           8.   Akin Gump is well-suited to advise the Restructuring Committee in these

 Chapter 11 Cases. Among other legal practice areas, Akin Gump has extensive experience

 and knowledge in the fields of financial restructuring and corporate governance. Akin Gump

 routinely handles complex chapter 11 cases, and I believe that Akin Gump has assembled a

 highly-qualified team of attorneys to provide legal services to the Restructuring Committee

 and the Independent Directors in connection with the Chapter 11 Cases.

           9.   Although I understand that the Debtors are not seeking to retain Akin Gump as

 an estate professional whose employment is subject to approval under Bankruptcy Code

 section 327, Akin Gump will apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to the

 Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the



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 Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures and

 orders of the Court.

           10.    Moreover, for the avoidance of doubt and to the best of my knowledge, Akin

 Gump does not have any conflicts of interest that would impair its ability to represent the

 Restructuring Committee. In connection with its proposed retention by the Restructuring

 Committee in the Chapter 11 Cases, Akin Gump undertook a thorough review of its

 computerized database (the “Conflicts Database”) to determine whether it had any conflicts

 or other relationships that might cause it not to be disinterested. The Conflicts Database is

 designed to include every matter on which Akin Gump is now and has been engaged, by which

 entity Akin Gump is now or has been engaged, and, in each instance, the identity of related

 parties and adverse parties and certain of the attorneys in the firm that are knowledgeable

 about the matter. It is the policy of Akin Gump that no new matter may be accepted or opened

 within the firm without completing and submitting to those charged with maintaining the

 Conflicts Database the information necessary to check each such matter for conflicts,

 including the identity of the prospective client, the matter and the related and adverse parties.

 Accordingly, Akin Gump maintains and systematically updates this system in the regular

 course of business of the firm, and it is the regular practice of the firm to make and maintain

 these records.

           11.    In that regard, in preparation for its representation of the Restructuring

 Committee, Akin Gump undertook to determine its connections with the Debtors and other

 parties-in-interest. Given the nature of the representation, Akin Gump did not search the entire

 Conflict Database, but searched the Conflict Database with respect to the significant parties

 in the case (collectively, the “Interested Parties”), with such list attached to this Declaration



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 as Schedule 1. To the extent that other parties become active in the Chapter 11 Cases, Akin

 Gump will supplement its conflicts search and, to the extent necessary, supplement this

 Declaration.

           12.   Based upon the results of that inquiry and conflict check (and any and all

 knowledge I have apart from the results thereof), Akin Gump, to the best of my knowledge

 and belief (after what I consider to be an appropriate inquiry), does not hold or represent any

 interest adverse to the Debtors’ estates and is a “disinterested person” as that term is defined

 in Bankruptcy Code section 101(14).

           13.   Akin Gump and certain of its attorneys may have in the past represented, may

 currently represent, and likely in the future will represent Interested Parties in this Chapter 11

 Case in connection with matters completely unrelated to the Debtors and the Chapter 11

 Cases. Set forth in Schedule 2 annexed hereto is a listing of the Interested Parties from

 Schedule 1 that Akin Gump either (i) currently represents (or represents a related party of the

 Interested Party) (the “Current Clients”) in matters unrelated to the Chapter 11 Cases, or (ii)

 has in the past represented (or represented a related party of the Interested Party) in matters

 unrelated to the Chapter 11 Cases. In connection with the services to be rendered to the

 Restructuring Committee, Akin Gump will not commence a cause of action in the Chapter 11

 Cases against the parties listed on Schedule 2 that are current or ongoing clients of Akin Gump

 (including parties listed below under the “Specific Disclosures” section of this Declaration)

 unless Akin Gump has an applicable waiver or first receives a waiver from such party allowing

 Akin Gump to commence such an action. To the extent that a waiver does not exist or is not

 obtained from such client and it is necessary for the Restructuring Committee to commence,




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 or be involved in, an action against that client, the Restructuring Committee will be

 represented in such particular matter by conflicts counsel or other counsel.

           14.   Set forth in Schedule 3 annexed hereto is a listing of those parties from

 Schedule 1 (Interested Parties) that are currently or have in the past been adverse to clients of

 Akin Gump in matters unrelated to these Chapter 11 Cases.

           15.   Set forth in Schedule 4 annexed hereto is a list of those Interested Parties that

 currently serve or have served on one or more informal and/or official creditors’ committees

 represented by Akin Gump. Akin Gump has not represented and will not represent these

 parties in connection with the Chapter 11 Cases.

                                   SPECIFIC DISCLOSURES

           16.   There are no debilitating disclosures with respect to any connection Akin Gump

 has or has had with the Debtors, Interested Parties, the Bankruptcy Administrator or any

 employee of that office, insofar as I know or have been able to ascertain after reasonable

 inquiry. To the best of my knowledge, information and belief, there are no other instances

 wherein Akin Gump has, has had, or might be deemed to have or have had connections with

 the Debtors, its creditors, or other Interested Parties. In addition, none of the connections

 disclosed in this Declaration, in my view, affects Akin Gump’s disinterestedness, nor is it

 likely to do so in the future.

           17.   At the inception of each engagement for which a declaration is required

 pursuant to Bankruptcy Rule 2014, Akin Gump reviews the information relating to the parties

 involved in a bankruptcy case to determine whether any such party, together with its known

 related entities, were clients of Akin Gump and, as a result, made payments to Akin Gump

 for services rendered in the calendar year prior to the date of review that in the aggregate for

 each such party exceeds 1% of Akin Gump’s total revenues for such calendar year. In

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 connection with this Declaration, Akin Gump, for the avoidance of doubt, reviewed similar

 information for the years 2017, 2018 and 2019.

           18.     With the exception of the parties described below, Akin Gump’s revenues for

 services rendered on behalf of each of the parties in interest identified in Schedule 1

 aggregate, with respect to each such party in interest, less than 1% of Akin Gump’s annual

 revenue in each of calendar year 2017, 2018 and 2019.

           19.      Akin Gump currently represents an ad hoc group of noteholders (the “PG&E

 Group”) of Pacific Gas and Electric Company and certain of its affiliates (the “PG&E

 Debtors”) in connection with the PG&E Debtors’ chapter 11 cases. Certain members of the

 PG&E Group or their affiliates are parties in interest in these Chapter 11 Cases. 3 The total

 fees received from the PG&E Group represented approximately 1.94% of Akin Gump’s

 revenue for the calendar year 2019.

           20.     Akin Gump currently represents and has formerly represented AT&T Corp.

 and/or certain of its affiliates (collectively, “AT&T”) in numerous matters unrelated to the

 Debtors’ Chapter 11 Cases, including litigation, intellectual property, corporate, employment,

 and telecommunication services.                  The total fees received from AT&T represented

 approximately 2.1% of Akin Gump’s 2017 revenue.

           21.     Akin Gump previously represented an ad hoc group of noteholders (the

 “Seadrill Group”) of Seadrill Limited and certain of its subsidiaries and affiliates

 (collectively, the “Seadrill Debtors”) in connection with the Seadrill Debtors’ chapter 11

 cases. Certain members of the Seadrill Group or their affiliates are parties in interest in these




 3
  These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
 entities: Lord, Abbett & Co. LLC.


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 Chapter 11 Cases. 4         Akin Gump’s revenues for services rendered on behalf of the Seadrill

 Group represented approximately 1.1% for the calendar year 2017.

           22.     Akin Gump previously represented an ad hoc committee of creditors (the

 “Weatherford Group”) of Weatherford International plc and certain of its subsidiaries and

 affiliates (collectively, the “Weatherford Debtors”) in connection with the Weatherford

 Debtors’ chapter 11 cases. Certain members of the Weatherford Group or their affiliates are

 parties in interest in these Chapter 11 Cases.5 Akin Gump’s revenues for services rendered

 on behalf of the Weatherford Group represented approximately 1.4% for the calendar year

 2017.

           23.     Akin Gump previously represented an ad hoc committee of creditors (the

 “Avaya Group”) of Avaya Inc. and certain of its subsidiaries and affiliates (collectively, the

 “Avaya Debtors”) in connection with the Avaya Debtors’ chapter 11 cases. Certain members

 of the Avaya Group or their affiliates are parties in interest in these Chapter 11 Cases. 6 Akin

 Gump’s revenues for services rendered on behalf of the Avaya Group represented

 approximately 1.4% for the calendar year 2017.

           24.     Given the size and complexity of the Debtors’ business, and the number of

 Interested Parties in the Chapter 11 Cases, it is possible that, despite reasonable efforts to

 discover connections as described above, the information listed above and in the attached

 exhibits may be incomplete or may have changed without our knowledge and may change


 4
  These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
 entities: Whitebox Advisors LLC.
 5
  These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
 entities: Franklin Advisers, Inc. and Whitebox Advisors LLC.
 6
   These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
 entities: JPMorgan Chase Bank, N.A., J.P. Morgan Investment Management Inc., Lord, Abbett & Co. LLC, PGIM,
 Inc., and Whitebox Advisors LLC.


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 during the pendency of the Chapter 11 Cases. I am not aware, however, of any connections

 not disclosed, and I believe that if there were any such other connections, they were unrelated

 to the Chapter 11 Cases and would have no effect on our representation.

           25.   Notwithstanding, Akin Gump will periodically review their files during the

 pendency of the Chapter 11 Cases to ensure that no conflict or other disqualifying

 circumstances exist or arise. To the extent that Akin Gump discovers any new relevant facts

 or relationships bearing on the matters described herein during the period of either of their

 employment, Akin Gump will use reasonable efforts to promptly file a supplemental to this

 Declaration.

                             PROFESSIONAL COMPENSATION

           26.   It is my understanding that the Debtors, pursuant to the Board Resolutions, will

 compensate Akin Gump for services rendered to the Restructuring Committee on and after

 the Petition Date. The amount charged by Akin Gump for this engagement will not exceed

 the rates that Akin Gump customarily charge to their other clients, and Akin Gump will seek

 reimbursement according to their customary reimbursement policies.             Pursuant to the

 Engagement Letter, the lawyers and paraprofessionals anticipated to work on this engagement

 have hourly rates ranging as follows:

                                   Title             2020 Billing
                                                      Rate/Range
                                 Attorneys           $535 - $1,595

                                Paralegals            $125 - $455



           27.   More specifically, the current hourly rates for the Akin Gump attorneys with

 primary responsibility for providing services to the Restructuring Committee are:


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                    (a)    Ira Dizengoff (Partner, Financial Restructuring), $1,595.00;

                    (b)    Sarah Link Schultz (Partner, Financial Restructuring), $1,595.00;

                    (c)    Joanna Newdeck (Senior Counsel, Financial Restructuring, $1,195.00;

                           and

                    (d)    Chance Hiner (Associate, Financial Restructuring), $775.00.

           28.   In addition to the above attorneys, other attorneys and paraprofessionals will,

 from time to time, assist in the representation of the Restructuring Committee in connection

 with the Chapter 11 Cases at Akin Gump’s standard hourly rates in effect for such personnel.

           29.   Because the fees (a) are based on hourly rates and will correspond to the degree

 of effort expended on the Restructuring Committee’s behalf and (b) are Akin Gump’s usual

 and customary rates for services of this nature, I believe that these rates, and the terms and

 conditions of Akin Gump’s employment, are reasonable.

           30.   In connection with the reimbursement of reasonable and necessary expenses,

 Akin Gump customarily charges their clients for all ancillary services incurred, including but

 not limited to, photocopying charges, facsimile transmissions, messengers, courier mail,

 computer and data bank time, word processing, secretarial overtime and temporary

 employees, overtime meals, overtime and late night transportation, travel, lodging, meal

 charges for business meetings, postage, printing, transcript, filing fees, document retrieval

 and similar items, and subject to the applicate guidelines for these Chapter 11 Cases, will

 continue to charge such reasonable and necessary expenses according to customary

 reimbursement policies.

           31.   Akin Gump will apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to the



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 Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the

 Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable procedures and

 orders of the Court.

           32.    Neither Akin Gump nor any attorney of Akin Gump has any agreement with

 any other entity to share with such entity any compensation received by Akin Gump in

 connection with the Chapter 11 Cases, or in connection with Akin Gump’s representation of

 the Restructuring Committee and Independent Directors prior to the date hereof.

                       AKIN GUMP’S PREPETITION COMPENSATION

           33.    As set forth above, Akin Gump has represented the Restructuring Committee

 since April 2020 pursuant to the Engagement Letter. Since April 2020, Akin Gump received

 compensation for fees and reimbursement for expenses related to such services in accordance

 with Akin Gump’s customary billing practices.

           34.    In addition, prior to the Petition Date, Akin Gump held an advance amount on

 account of services to be performed and expenses to be incurred in connection with the filing

 and prosecution of the Chapter 11 Cases and Akin Gump’s representation of the Restructuring

 Committee (the “Advance Payment”). Akin Gump has debited against the Advance Payment

 on account of prepetition services performed and expenses incurred. 7 As of the Petition Date,

 $220,252.50 of the Advance Payment remains. Akin Gump intends to perform a true-up of

 its billing records to determine if any additional fees and expenses incurred prior to the

 Petition Date should be applied against the Advance Payment. Following such true-up, Akin

 Gump proposes to hold this Advance Payment until the end of the Chapter 11 Cases and, at



 7
  In most instances, Akin Gump has been paid from an evergreen retainer. Attached to this Declaration as Schedule
 5 is a chart detailing invoices tendered and payments rendered on account of services performed by Akin Gump as
 counsel to the Restructuring Committee for the ninety (90) days prior to the Petition Date.


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 the conclusion of our representation, Akin Gump will apply the Advance Payment to the final

 invoice and return any excess to the Debtors.

           35.    As of the Petition Date, the Debtors did not owe Akin Gump any amounts for

 legal services rendered before the Petition Date.

           36.    As stated above, pursuant to Bankruptcy Code section 504 and Bankruptcy Rule

 2016(b), Akin Gump has not shared or agreed to share any of its compensation from the

 Debtors with any other persons, other than employees and partners of Akin Gump

           37.    For the stated reasons, I believe that it is in the best interest of the Debtors’

 estates for Akin Gump to be employed by the Restructuring Committee in the Chapter 11

 Cases.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

 Dated: July 27, 2020


                                               /s/ Sarah Link Schultz
                                               Sarah Link Schultz
                                               Partner at Akin Gump Strauss Hauer & Feld LLP




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                                             Schedule 1

                                     Schedule of Searched Parties

 Debtors
 32E Productions, LLC                                 RA Brands, L.L.C.
 Barnes Bullets, LLC                                  Remington Arms Company, LLC
 FGI Finance Inc.                                     Remington Arms Distribution Company,
 FGI Holding Company, LLC                              LLC
 FGI Operating Company, LLC                           Remington Outdoor Company, Inc.
 Great Outdoors Holdco, LLC                           TMRI, Inc.
 Huntsville Holdings LLC
 Outdoor Services, LLC

 Non-Debtor Affiliates
 Remington Charitable Fund
 Remington Licensing Corporation
 Remington Outdoor (UK) Ltd.

 Officers and Directors
 Billy Hogue                                          Ken D’Arcy
 Brian Wheatley                                       Mark Boyadjian
 Charles Thurman                                      Mark Little
 Chuck Rink                                           Matt McCarrol
 Ehsan Zargar                                         Matt Trask
 Emile Buzaid                                         Melissa Anderson
 Gene Davis                                           Melissa Cofield
 Jeff Brown                                           Rick Kilts
 Joanne Chomiak                                       William Krogseng
 John Trull

 Debtors’ Professionals
 M-III Advisory Partners, LP                          Swanson, Martin, and Bell
 O’Melveny & Myers LLP                                Womble Bond Dickson
 Shook, Hardy, and Bacon

 Equity Owners, Potentially 5% or Greater
 Funds and accounts managed by Franklin                Chase Bank, N.A.
  Advisers, Inc.                                      Schultze Master Fund, Ltd.
 Funds and accounts managed by either J.P.
  Morgan Investment Management Inc. and/or
  funds and accounts managed by JPMorgan




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 Letters of Credit
 Geodis Logistics LLC

 Credit Facility Lenders1

 Ankura Trust Company, LLC                                    Pandora Select Partners, LP
 Cantor Fitzgerald Securities                                 Renaissance Investment Holdings Ltd.
 Funds and accounts managed by Franklin                       Teachers Retirement Systems of Oklahoma
   Advisers, Inc.                                             Whitebox Asymmetric Partners, LP
 JP Morgan Chase Bank, N.A.; funds and                        Whitebox Caja Blanca Fund, LP
   accounts managed by JPMorgan Chase                         Whitebox Credit Partners, LP
   Bank, N.A.                                                 Whitebox GT Fund, LP
 J.P. Morgan Investment Management Inc.;                      Whitebox Multi-Strategy Partners, LP
   funds and accounts managed by J.P.
   Morgan Investment Management Inc.
 Lord Abbett; funds and accounts managed
   by Lord Abbett

 Stockholders (Current/Recent)
 ACIS CLO 2013-1, Ltd.                                        Hillmark Funding, Ltd.
 ACIS CLO 2014-3 Ltd.                                         LCM XIII Limited Partnership
 ACIS CLO 2014-4 Ltd.                                         LCM XIV Limited Partnership
 ACIS CLO 2014-5 Ltd.                                         LCM XIX Limited Partnership
 ACIS CLO 2014-6 Ltd.                                         LCM XV Limited Partnership
 Antora Peak Capital Management LP                            LCM XVI Limited Partnership
 Antora Peak Credit Opportunities Fund, LP                    LCM XVII Limited Partnership
 Artisan Credit Opportunities Master Fund                     LCM XVIII Limited Partnership
  LP                                                          LCM XX Limited Partnership
 BTIG, LLC                                                    LCM XXI Limited Partnership
 Cantor Fitzgerald & Co.                                      LCM XXII LTD.
 DG Value Partners II Master Fund, LP                         LCM XXIII LTD.
 DG Value Partners, LP                                        LCM XXIV LTD.
 First Southern Securities, LLC                               LCM XXV LTD.
 Funds and accounts managed by Franklin                       Logen Asset Management, L.P.
  Advisers, Inc.                                              Newmark Capital Funding 2013-1CLO
 Funds and accounts managed by J.P. Morgan                    Renaissance Investment Holdings, Ltd.
  Investment Management Inc.                                  Schultze Master Fund, Ltd.
 Funds and accounts managed by JPMorgan                       Whitebox Asymmetric Partners, LP
  Chase Bank, N.A.                                            Whitebox Multi-Strategy Partners, LP
 Funds and accounts managed by Lord
  Abbett


 1
   As stated in the Debtors’ Application for Entry of Interim and Final Order Authorizing the Employment and
 Retention of O’Melveny & Myers LLP as Attorneys for the Debtors, where available and applicable, the names of the
 individual funds and accounts managed by investment advisors that are holders of the FILO Term Loan, the Exit Term
 Loan, and equity securities have been provided to the Office of the Bankruptcy Administrator.



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 Landlords
 BCR Enterprises, Ltd.                             Glassell Family LLC
 Eagle Bulk Shipping International (USA)           Norma J. Allen
  LLC (Subtenant)                                  PAM Industrial Properties, LLC
 First Stamford Place SPE L.L.C. and               PanCal Southhaven One 127, LLC
  Merrifield First Stamford SPE L.L.C.             Stout Industrial Properties, LLC
 FW Properties, L.L.C.                             Sturgis Economic Development Corporation

 Leases
 Applied Combustion                                HYG Financial Services
 Arkansas Copier (De Large)                        MacCopy
 BCR Enterprises Ltd.                              Mail Finance Inc.
 Eagle Bulk Shipping International (USA)           Norma J. Allen
  LLC                                              PAM Industrial Properties
 Empire State Realty Trust (ESRT) First            PanCal Southhaven One 127, LLC
  Stamford Place SPE LLC                           S&K Industries
 FW Properties, LLC                                Safety Kleen
 GEODIS Logistics LLC                              Stout Industrial (Tom Stout and Pam Stout)
 Glassell Family LLC                               Sturgis Economic Development Corporation
 Great America Financial/Toshiba Business          Toyota Industries Commercial Finance
  Solutions                                        Wiese Lifts

 Taxing Authorities
 Alabama Department of Revenue,                    Department of Tax & Revenue, Charleston,
  Birmingham, Alabama                                West Virginia
 Alabama Department of Revenue,                    Desoto County, Tax Collector, Hernando,
  Montgomery, Alabama                                Mississippi
 Alcohol Tobacco Tax & Trade Bureau.               District of Columbia Government,
  Cincinnati, Ohio                                   Washington, DC
 Arizona Department of Revenue, Phoenix,           Douglas County Tax Commissioner,
  Arizona                                            Douglasville, Georgia
 Benton County Collector, Bentonville,             Florida Department of Revenue,
  Arkansas                                           Tallahassee, Florida
 Butler County Sheriff, Morgantown,                Franchise Tax Board, Sacramento,
  Kentucky                                           California
 City of Huntsville, Huntsville, Alabama           Georgia Sales and Use Tax Division,
 Clark County Treasurer, Jeffersonville,             Atlanta, Georgia
  Indiana                                          Idaho State Tax Commission, Boise, Idaho
 Collector of Revenue, Springfield, Missouri       Illinois Department of Revenue, Springfield,
 Colorado Department of Revenue, Denver,             Illinois
  Colorado                                         Indiana Department of Revenue,
 Crittenden County Sheriff, Marion,                  Indianapolis, Indiana
  Kentucky                                         James W. Wilburn III, Treasurer, Lenoir
 Delaware Division of Corporations, Dover,           City, Tennessee
  Delaware                                         Juab County Assessor, Nephi, Utah




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 Kansas Department of Revenue, Topeka,             Oklahoma Tax Commission, Oklahoma
  Kansas                                            City, Oklahoma
 Kentucky State Treasurer, Frankfort,              Pennsylvania Department of Revenue,
  Kentucky                                          Harrisburg, Pennsylvania
 La Porte County Treasurer, Michigan City,         Pinellas County Tax Collector, Seminole,
  Indiana                                           Florida
 Lafayette County Collector, Lexington,            Randolph County Treasurer, Chester, Illinois
  Missouri                                         Receiver of Taxes, Mohawk, NY
 Lonoke County Collector, Lonoke, Arkansas         Rockingham County Tax Department,
 Loudon County Trustee, Loudon, Tennessee           Charlotte, North Carolina
 Louisiana Department of Revenue Baton             South Carolina Department of Revenue,
  Rouge, Louisiana                                  Columbia, South Carolina
 Madison County Tax Collector, Huntsville,         South Dakota Department of Revenue,
  Alabama                                           Sioux Falls, South Dakota
 Maine Bureau of Taxation, Augusta, Maine          State of Arkansas, Little Rock, Arkansas
 Marion County Collector, Yellville,               State of California, Sacramento, California
  Arkansas                                         State of Connecticut, Hartford, Connecticut
 Maryland Comptroller of the Treasury,             State of Hawaii, Honolulu, Hawaii
  Baltimore, Maryland                              State of Iowa Treasurer, Des Moines, Iowa
 Massachusetts Department of Revenue,              State of Michigan, Lansing, Michigan
  Boston, Massachusetts                            State of New Jersey, Trenton, New Jersey
 Minnesota Department of Revenue, St. Paul,        State of North Dakota, Bismarck, North
  Minnesota                                         Dakota
 Mississippi Tax Commission, Jackson,              State of Rhode Island, Providence, Rhode
  Mississippi                                       Island
 Missouri Department of Revenue, Jefferson         State of Washington Department of
  City, Missouri                                    Revenue, Seattle, Washington
 Nebraska Department of Revenue, Lincoln,          Tennessee Department of Revenue,
  Nebraska                                          Nashville, Tennessee
 Nevada Department of Taxation, Las Vegas,         Texas State Treasurer, Austin, Texas
  Nevada                                           Treasurer of Hancock County, Findlay, Ohio
 New Mexico Taxation and Revenue                   Treasurer of State, Columbus, Ohio
  Department, Santa Fe, New Mexico                 Utah State Tax Commission, Salt lake City,
 New York State Sales Tax, Albany, NY               Utah
 North Carolina Department of Revenue -            Vermont Department of Taxes, Montpelier,
  W/H                                               Vermont
 North Carolina Department of Revenue,             Village of Ilion Treasurer, Ilion, NY
  Raleigh, North Carolina                          Virginia Department of Taxation, Richmond,
 North Carolina Division of Motor Vehicles,         Virginia
  Raleigh, North Carolina                          Wake County Department of Revenue,
 North Carolina Secretary of State, Raleigh,        Raleigh, North Carolina
  North Carolina                                   Wisconsin Department of Revenue,
 Office of the Fayette County Sheriff,              Milwaukee, Wisconsin
  Lexington, Kentucky                              Wyoming Department of Revenue,
 Ohio Treasurer of State, Columbus, Ohio            Cheyenne, Wyoming




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 Utility Providers
 AAA Disposal Services Inc.                           Madison Electric Inc. (Madison, Alabama)
 ADCO Companies Ltd.                                  Mail Finance Inc. (Dallas, Texas)
 Airgas USA LLC                                       Mona City (Mona, Utah)
 AT&T                                                 National Grid
 Centracom                                            Piedmont Natural Gas Company (Dallas,
 CenturyLink                                           Texas)
 CenturyLink Communications LLC                       Rocky Mountain Power
 City of Huntsville Utilities (Huntsville,            Spectrum
   Alabama)                                           Sprague Operating Resources LLC
 City of Lexington, Missouri                          Town of Mayodan (Mayodan, NC)
 Constellation NewEnergy - Gas Division               Verizon
 Cox Communications                                   Village of Ilion, Light Department (Ilion,
 Duke Energy                                           NY)
 Empire District                                      Waste Management (Carol Stream, Illinois)
 Evergy Inc.                                          Waste Management of Alabama North
 First Electric Cooperative Corp.                      (Huntsville, Alabama)
 Frontier Communications                              Waste Management of New York - Utica
 Herkimer County Sewer District (Mohawk,              Windstream Corporation (Louisville,
   NY)                                                 Kentucky)
 Ilion Water Department (Ilion, NY)
 Intercall (Atlanta, GA)
 Jay Mecham’s Country Garbage (Mona,
   Utah)

 Parties Submitting LOIs
 Party names are confidential and not disclosed

 Alabama Bankruptcy Judges (N.D. Ala.)
 Clifton R. Jessup, Jr.
 D. Sims Crawford
 James J. Robinson
 Jennifer H. Henderson
 Tamara O. Mitchell


 Bankruptcy Administrator/Trial Attorneys (N.D. Ala.)
 Jon Dudeck
 Judith Thompson
 Michele T. Hatcher
 Richard Blythe
 Tazewell Shepard
 Thomas Corbett




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                                               Schedule 2

               Schedule of Searched Parties and/or Certain Related Parties that Akin Gump
                    Currently Represents, or Has in the Past Represented, in Matters
                                  Unrelated to these Chapter 11 Cases


 Debtors

 Akin Gump has not represented in the past and currently does not represent these parties.

 Non-Debtor Affiliates

 Akin Gump has represented in the past the following company and/or certain related parties of such
 company on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Remington Licensing Corporation

 Officers and Directors

 Akin Gump has represented in the past and currently represents the following individuals and/or certain
 related parties of such individuals on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Eugene I. Davis

 Stockholders (Current/Recent)

 Akin Gump has represented in the past and currently represents the following companies and/or certain
 related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 DG Value Partners II Master Fund, LP                    LCM XV Limited Partnership
 DG Value Partners, LP                                   LCM XVI Limited Partnership
 Funds and accounts managed by Franklin                  LCM XVII Limited Partnership
  Advisers, Inc.                                         LCM XVIII Limited Partnership
 Funds and accounts managed by J.P. Morgan               LCM XX Limited Partnership
  Investment Management Inc.                             LCM XXI Limited Partnership
 Funds and accounts managed by JPMorgan                  LCM XXII LTD.
  Chase Bank, N.A.                                       LCM XXIII LTD.
 Funds and accounts managed by Lord Abbett               LCM XXIV LTD.
 LCM XIII Limited Partnership                            LCM XXV LTD.
 LCM XIV Limited Partnership                             Whitebox Asymmetric Partners, LP
 LCM XIX Limited Partnership                             Whitebox Multi-Strategy Partners, LP

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Cantor Fitzgerald & Co.
 Funds and accounts managed by Lord Abbett
 Renaissance Investment Holdings, Ltd.




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 Credit Facility Lenders

 Akin Gump has represented in the past and currently represents the following companies and/or certain
 related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Ankura Trust Company, LLC                               Pandora Select Partners, LP
 Funds and accounts managed by Franklin                  Whitebox Asymmetric Partners, LP
  Advisers, Inc.                                         Whitebox Caja Blanca Fund, LP
 Funds and accounts managed by J.P. Morgan               Whitebox Credit Partners, LP
  Investment Management Inc.                             Whitebox GT Fund, LP
 Funds and accounts managed by JPMorgan                  Whitebox Multi-Strategy Partners, LP
  Chase Bank, N.A.


 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Cantor Fitzgerald Securities                            Renaissance Investment Holdings Ltd.
 Funds and accounts managed by Lord Abbett




 Equity Owners, Potentially 5% or Greater

 Akin Gump has represented in the past and currently represents the following companies and/or certain
 related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Funds and accounts managed by Franklin Advisers, Inc.
 Funds and accounts managed by J.P. Morgan Investment Management Inc. and/or funds and accounts
 managed by JPMorgan Chase Bank


 Landlords

 Akin Gump has represented in the past and currently represents the following company and/or certain
 related parties of such company on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Eagle Bulk Shipping International (USA) LLC (Subtenant)


 Leases

 Akin Gump has represented in the past and currently represents the following companies and/or certain
 related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Eagle Bulk Shipping International (USA) LLC              Solutions
 Great America Financial/Toshiba Business

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:


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 Safety Kleen
 Toyota Industries Commercial Finance


 Letters of Credit

 Akin Gump has not represented in the past and currently does not represent these parties.




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 Utility Providers

 Akin Gump has represented in the past and currently represents the following companies and/or certain
 related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 AT&T                                                    National Grid
 CenturyLink                                             Spectrum
 CenturyLink Communications LLC                          Waste Management (Carol Stream, Illinois)
 Cox Communications

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Airgas USA LLC
 Constellation NewEnergy - Gas Division
 Duke Energy
 Verizon
 Windstream Corporation (Louisville, Kentucky)


 Debtors’ Professionals

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 M-III Advisory Partners, LP                             Shook, Hardy, and Bacon


 Taxing Authorities

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 District of Columbia Government, Washington, DC
 State of Michigan, Lansing, Michigan
 State of New Jersey, Trenton, New Jersey




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 Alabama Bankruptcy Judges (N.D. Ala.)

 Akin Gump has not represented in the past and currently does not represent these parties.


 Bankruptcy Administrators/Trial Attorneys (N.D. Ala.)

 Akin Gump has not represented in the past and currently does not represent these parties.


 Parties Submitting LOIs

 Akin Gump has represented in the past the following companies and/or certain related parties of such
 companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

 Confidential Party 1
 Confidential Party 2




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                                                 Schedule 3

               Schedule of Searched Parties and/or Certain Related Parties that are Currently,
                         or Have in the Past Been, Adverse to Clients of Akin Gump


 Airgas USA LLC                                           LCM XX Limited Partnership
 Alcohol Tobacco Tax & Trade Bureau.                      LCM XXI Limited Partnership
   Cincinnati, Ohio                                       LCM XXII LTD.
 Ankura Trust Company, LLC                                LCM XXIII LTD.
 AT&T                                                     LCM XXIV LTD.
 BTIG, LLC                                                LCM XXV LTD.
 Cantor Fitzgerald & Co.                                  National Grid
 Cantor Fitzgerald Securities                             The Navajo Nation
 CenturyLink                                              New York State Sales Tax, Albany, NY
 CenturyLink Communications LLC                           Pandora Select Partners, LP
 Constellation NewEnergy - Gas Division                   Remington Licensing Corporation
 Cox Communications                                       Renaissance Investment Holdings Ltd.
 DG Value Partners II Master Fund, LP                     Safety Kleen
 DG Value Partners, LP                                    Schultze Master Fund, Ltd.
 District of Columbia Government, Washington,             Spectrum
   DC                                                     State of Arkansas, Little Rock, Arkansas
 Duke Energy                                              State of California, Sacramento, California
 Empire District                                          State of Connecticut, Hartford, Connecticut
 Empire State Realty Trust (ESRT) First                   State of Hawaii, Honolulu, Hawaii
   Stamford Place SPE LLC                                 State of Michigan, Lansing, Michigan
 First Stamford Place SPE L.L.C. and Merrifield           State of New Jersey, Trenton, New Jersey
   First Stamford SPE L.L.C.                              State of Rhode Island, Providence, Rhode Island
 Funds and accounts managed by Franklin                   State of Washington Department of Revenue,
   Advisers, Inc.                                          Seattle, Washington
 Funds and accounts managed by J.P. Morgan                Toyota Industries Commercial Finance
   Investment Management Inc.                             Verizon
 Funds and accounts managed by JPMorgan                   Waste Management (Carol Stream, Illinois)
   Chase Bank, N.A.                                       Whitebox Asymmetric Partners, LP
 Funds and accounts managed by Lord Abbett                Whitebox Caja Blanca Fund, LP
 Frontier Communications                                  Whitebox Credit Partners, LP
 Geodis Logistics LLC                                     Whitebox GT Fund, LP
 Glassell Family LLC                                      Whitebox Multi-Strategy Partners, LP
 Great America Financial/Toshiba Business
   Solutions
 Illinois Department of Revenue, Springfield,
 Illinois
 Indiana Department of Revenue, Indianapolis,
   Indiana
 LCM XIII Limited Partnership
 LCM XIV Limited Partnership
 LCM XIX Limited Partnership
 LCM XV Limited Partnership
 LCM XVI Limited Partnership
 LCM XVII Limited Partnership
 LCM XVIII Limited Partnership


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                                             Schedule 4

    Schedule of Searched Parties that are Currently Serving, or Have in the Past Served, on Other
            Informal and/or Official Creditors’ Committees Represented by Akin Gump


 AT&T
 Funds and accounts managed by Franklin
  Advisers, Inc.
 Funds and accounts managed by J.P. Morgan
  Investment Management Inc.
 Funds and accounts managed by JPMorgan
  Chase Bank
 Funds and accounts managed by Lord Abbett
  Bond Debenture Fund, Inc.
 Pandora Select Partners, LP
 Schultze Master Fund, Ltd.
 Verizon
 Whitebox Asymmetric Partners, LP
 Whitebox Caja Blanca Fund, LP
 Whitebox Credit Partners, LP
 Whitebox GT Fund, LP
 Whitebox Multi-Strategy Partners, LP




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                                                                                             Additional         Balance of
                                                                                             Advance            Advance
Bill Date Pay Date     Fees               Expenses             Total                         Payment            Payment
Advance Payment Balance Prior to 90-Day Period Prior to Petition Date                                           $250,000.00
4/22/2020 4/27/2020 $213,764.00           $-                   $213,764.00                                      $250,000.00
5/5/2020     5/8/2020  $163,465.00        $-                   $163,465.00                                      $250,000.00
5/27/2020 5/29/2020 $254,550.00           $-                   254,550.00                                       $250,000.00
6/10/2020 6/12/2020 $269,050.00           $-                   269,050.00                                       $250,000.00
6/18/2020 6/17/2020 $149,105.00           $215.35              $149,320.35                   $100,000.00        $350,000.00
6/29/2020 7/7/2020     $220,888.50        $1,215.92            $222,104.42                                      $350,000.00
7/20/2020 7/21/2020 $138,021.00           $28.40               $138,049.40                   $12,500.00         $362,500.00
7/24/2020 7/27/2020 $89,588.00            $-                   $89,588.00                    $16,000.00         $347,912.00
Application of Advance
Payment Against
Known Unpaid Fees      $127,659.50        $-                   $127,659.50                                      $220,252.50
and Expenses as of
Petition Date1




       1
        To the extent that Akin Gump identifies any additional prepetition fees and expenses not provided for herein, Akin
       Gump shall apply the remaining Advance Payment amount to such amounts owed.


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                                  EXHIBIT D

                               Engagement Letter




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